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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DISTRICT



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )                      4:12CR00306-11 KGB
                                            )
GARY WAYNE ALVY                             )


                                            ORDER

       The government has filed a motion to revoke bond (docket entry no. 286), and the issue

has been referred to the undersigned for disposition. The Clerk is directed to issue a summons

for the defendant to appear on this motion. The summons should direct the defendant to appear

on Thursday, April 25, 2013, at 9:30 a.m.

       IT IS SO ORDERED this 23         day of April, 2013.




                                                UNITED STATES MAGISTRATE JUDGE
